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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN MARIANA ISLANDS

STAR MARIANAS AIR, INC., Civil Case No. 17-00012
Plaintiff, DEFENDANT COMMONWEALTH
PORTS AUTHORITY’S REPLY TO
vs. PLAINTIFF’S OPPOSITION TO
MOTION TO DISMISS SECOND
COMMONWEALTH PORTS AMENDED COMPLAINT

AUTHORITY, AND DOES 1-V,

Defendant.s.

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Plaintiff Star Marianas Air, lnc. (“SMA”) opposes Defendant Commonwealth Ports
Authority’s (“CPA") motion to dismiss SMA’s Second Amended Complaint, asserting
jurisdiction of this Court on the following grounds: (l) resolution of SMA’s breach of contract
claim raises a federal question; (2) this Court has jurisdiction under the federal preemption
provision of the Airline Dercgulation Act; (3) the Rates and Charges Policy is applicable to
written fee agreements, and therefore controls SMA’s claim; and (4) the Federal Aviation
Adrninistration (“FAA”) does not have primary jurisdiction over SMA’s breach of contract

claim.

 

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CPA responds to SMA’s arguments as follows: (1) none of the federal avenues cited by
SMA confer jurisdiction and indeed all of them either establish that no private right of action
exists or that the FAA has primary jurisdiction; (2) there is no jurisdiction under the Airline
Deregulation Act as exercise of a proprietary power is specifically excepted by the federal
preemption provision; and (3) whether or not the Rates and Charges Policy is applicable to
written fee agreements is irrelevant to jurisdiction because the issue of the reasonableness of
fees are subject to the jurisdiction of the FAA, whether imposed by agreement or not.

I. THERE IS NO FEDERAL QUESTION AND THE FAA HAS PRIMARY
JURISDICTION OVER THE KEY ISSUE IN THIS MATTER

SMA claims that resolution of its breach of contract claim raises a substantial federal
issue because CPA has allegedly violated its federal obligation to impose reasonable rates and
charges pursuant to the FAA Policy regarding Airport Rates and Charges, 78 Fed. Reg. 55330
(Sept. 10, 2013) (“Rates and Charges Policy”). SMA cites a single case in support of its
assertion that a state cause of action may also require resolution of a federal question, Franchr'se
Tax Ba'. v. Consmrction Laborers Vacation Tr., 463 U.S. l, 13 (1983). While Franchise Tax
Board does cite the legal proposition that a well-pleaded complaint alleging a state cause of
action may also arise under federal law if the resolution of the claim requires resolution of a
federal question, SMA has not cited any authority for its proposition that an alleged violation of
the Rates and Charges Policy is a violation of a federal law. 463 U.S. 1, 28 (vacating and
remanding back to state court, finding “We hold that a suit by state tax authorities both to
enforce its levies against funds held in trust pursuant to an ERISA-covered employee benefit

plan, and to declare the validity of the levies notwithstanding ERISA, is neither a creature of

 

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ERISA itself nor a suit of which the federal courts will take jurisdiction because it turns on a
question of federal law.”). Whether or not CPA has violated the Rates and Charges Policy or its
grant assurances are issues for resolution by the FAA as they relate to the reasonableness of
rates; and, further, the Rates and Charges Policy is inapplicable to fees set forth by written
agreement
A. The FAA Has Primary Jurisdiction over Alleged Violations of the Rates and Charges
Policy or Grant Assurances as they relate to Reasonableness of Rates and SMA has
Failed to Exhaust Administrative Remedies
If, as SMA argues, its breach of contract claim revolves around the resolution of what
constitutes a reasonable fee under the Rates- and Charges Policy or whether CPA has violated its
grant assurances, then at a minimum, this Court musf place this matter in abeyance and await
the resolution of the FAA Part 16 investigation
The primary jurisdiction doctrine provides that “[w]hen there is a basis for judicial
action, independent of agency proceedings, courts may route the threshold decision as to certain
issues to the agency charged with primary responsibility for governmental supervision or
control of the particular industry or activity involved.” U.S. v. Cirlliron, 328 F.3d 1074, 1081
(9111 Cir. 2003) (quoting Um'ted States v. General Dynamics Corp., 828 F.2d 1356, 1362 (9th
Cir. 1987) (quoting Port of Boston Marine Terminal Ass'n v. Rederiaktiebolaget Transatlantic
No. 99, 400 U.S. 62, 68 (1970)). Deterrnining whether the doctrine
of primary jurisdiction applies depends on “the extent to which Congress, in enacting a
regulatory scheme, intends an administrative body to have the first word on issues arising in

juridical proceedings." Id. at 1082 (citing G'eneral Dynamics Corp., 828 F.2d at 1362) (citing

 

 

 

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Um'ted States v. RCA, 358 U.S. 334 (1959)). In order to determine whether Congress has so
intended an administrative body to have the first word, a court looks to certain factors Which are
“uniformly present” in cases where courts refrain from judicial action on particular issues. Id.
These factors include “[c]ongressional intent to imbue an administrative agency with total
responsibility to resolve or address the particular issue and the need for expertise or uniformity
in the administration of such a decision.”]d. (citing General Dynmni'cs Corp., 828 F.2d at
1363). An agency’s competence to handle an issue alone is not sufficient; “[t]he particular
agency deferred to must be one that Congress has vested with the authority to regulate an
industry or activity such that it would be inconsistent with the statutory scheme to deny the
agency's power to resolve the issues in question.” ld. (citing Genemi' Dyna.'m'cs Corp., 828 F.2d
at 1363).

Under 49 U.S.C. §§ 40101, et. seq, the Federal Aviation Act of 1958, the FAA has broad
authority to regulate air commerce. The Airport and Airway lmprovement Act of 1982
(“AAIA”) authorizes the FAA to grant federal funds to public airports for construction and
other improvement projects via the AAlA’s Airport Improvement Program (“A[P”). Recipients
of AIP grants must provide written assurances that they will comply with numerous statutory
requirements (“grant assurances”). Airports receiving federal assistance under an A[P grant
must be “available for public use on reasonable conditions and without unjust discrimination.”
49 U.S.C. § 47107(a)(l). Pursuant to 49 U.S.C. § 47107, the FAA must ensure that airport
owners comply with grant assurances, including the obligation to impose reasonable rates and
charges and to apply its rates and charges in a uniform and nondiscriminatory manner. The

trigger for the Rates and Charges Policy was the enactment of Section 133 of the FAA

 

 

 

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Reauthorization Act of 1994, now codified as 49 U.S.C. § 47129(b)(2), requiring the
Department of Transportation/FAA to publish “standards or guidelines that shall be used by the
Secretary in determining under this section whether an airport fee is reasonable.” The FAA is
empowered to adjudicate certain disputes, including complaints that an airport proprietor has
violated grant assurances 14 C.F.R. § 16.l(a); see also 49 U.S.C.A. § 46110 (disposition of
complaints heard initially in administrative proceedings before the Secretary of Transportation
are subject tojudicial review in a federal district court).

At a minimum, the FAA has primary jurisdiction over the issue of whether CPA has
violated the Rates and Charges Policy and its grant assurances by charging allegedly
unreasonable or discriminatory fees. More compellingly, SMA is required to exhaust its
administrative remedies before the FAA before bringing the issue of reasonableness of rates
before this Court. If SMA is correct that its breach of contract claim turns on whether the rates
are reasonable under federal law, the Court should defer to the FAA on that point. Whether
CPA has violated its grant assurances by charging fees that allegedly violate the policy set forth
by the Rates and Charges Policy is an issue already before the FAA, which is where this matter
should be in the first instance. SMA cites numerous federal policies, including the Rates and
Charges Policy, the AAIA, and the Anti-Head Tax Act, in an attempt to dress up its claim as a
federal question, A closer look at each allegation of federal question reveals that none of the
avenues cited by SMA confer federal jurisdiction and indeed establish that its claim must be
heard first by the FAA, as it requires a determination on the reasonableness of rates.

SMA has filed an Amended Complaint against CPA under Title 14 CFR Part 16 in the

United States Department of Transportation, Federal Aviation Administration, under FAA

 

 

 

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Docket No. 16-14-02; a copy of that Amended Complaint has already been provided to this
Court. SMA’s claim of unreasonable fees is already being heard via the administrative process
before the FAA, and this is where SMA’s claim should be. Because the FAA has the primary
jurisdiction to determine whether rates are reasonable and whether grant assurances have been
violated, and, more importantly, because the FAA has the expertise necessary to decide these
issues, this Court should require SMA continue its pursuit of its administrative remedy and
should dismiss SMA’s private action in this Court until these specialized issues are resolved. It
is a matter of judicial restraint that this Court should not consider SMA’s claim as they relate to
these specialized issues while an administrative tribunal with jurisdiction over those matters is
considering them.
B. Fees in Written Agreements are also under FAA Purview

SMA concedes that under 49 U.S.C. § 47129, an air carrier may file a formal complaint
with the Department of Transportation challenging the reasonableness of an airport fee but that
this procedure is inapplicable to fees imposed by a written agreement (ECF 29 at 6). SMA then
argues that 49 U.S.C. § 47129 is irrelevant because its claim is brought in this Court as a breach
of contract claim as opposed to a claim brought before the Department of Transportation. (ECF
29 at 6). The gist of SMA’s argument is that because its claim is not brought before the
Department of Transportation (which is where it is and should be because of the issues that
underpin it), that the exclusion for written fee agreements under the Rates and Charges Policy
otherwise does not apply to its claim of unreasonable rates in front of this Court. Even if this
were true, however, the avenue for challenging fees and rates should still be initiated via an

action with the DOT under 14 C.F.R. Part 302 or with the FAA under Part 16. See, e.g., Air

 

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szada v. Dep't. of Transp., 148 F.3d 1142, 1145 (D.C. Cir. 1998) (noting that air carriers have
“two administrative options...traditional investigation by the FAA or expedited determination
by the Secretary [of the Department of Transportation]...”). SMA’s only recourse here is under
Part 16, as the procedure under Part 302 is not applicable to fees set by written agreement See
14 C.F.R. § 302.601(b)(1).

CPA maintains that the fees set forth by its Airline Use Agreement with SMA are not
governed by the Rates and Charges Policy. See 78 Fed. Reg. 55330, at 55331-32 (“Section
47129(e) excludes from the applicability of § 47129 a fee imposed pursuant to a written
agreement with air carriers or foreign air carriers, a fee imposed pursuant to a financing
agreement or covenant entered into before the date of enactment of the statute (August 23,
1994), and an existing fee not in dispute on August 23, 1994.”) (“In addition, the Department
will not entertain a complaint about the reasonableness of a fee set by agreement filed by a party
to the agreement setting the disputed fee.”).The Court, however, need not even decide whether
the Rates and Charges Policy applies to written agreements, because even if it did, disputes over
fees governed by written agreements must still be heard by the FAA; SMA’s argument that its
dispute falls outside the parameters of 49 U.S.C. § 47129 does not change that See 78 Fed. Reg.
55330, at 55331-32 “[A] dispute that is not subject to processing under the expedited
procedures mandated by § 47129, including a dispute over matters described by § 47129 (e) and
(f), will be processed by FAA under procedures applicable to airport compliance matters in
general.”).

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II. THERE IS NO JURISDICTION UNDER THE FEDERAL PREEMPTION
PROVISION OF TI'[E AIRLINE DEREGULATION ACT
SMA claims this Court has jurisdiction over its claim under the federal preemption
provision of 49 U.S.C. § 41713(b)(3), the Airline Deregulation Act. CPA has argued that it falls
within the exception created by 49 U.S.C. § 41713(b)(3) because it is within CPA’s proprietary
powers and rights to charge reasonable fees. SMA argues that CPA has not shown that the right
to charge reasonable fees is a proprietary right, and instead claims that proprietary rights
excluded by the Airline Deregulation Act are rights more akin to functions relating to airport
noise regulations or airport curfews.
The Airline Deregulation Act provides that “[e]xcept as provided in this subsection, a
State, political subdivision of a State, or political authority of at least 2 States may not enact or
enforce a law, regulation, or other provision having the force and effect of law related to a price,
route, or service of an air carrier that may provide air transportation under this subpart.”
However, subsection (b)(3) of 49 U.S.C. § 41713 qualifies this express preemption by stating
that the subsection expressly providing for preemption “does not limit a State, political
subdivision of a State, or political authority of at least 2 States that owns or operates an airport
served by an air carrier holding a certificate issued by the Secretary of Transportation from
carrying out its proprietary powers and rights." 49 U.S.C. § 41713(b)(3).
What constitutes a proprietary right is not set forth in the Airline Dercgulation Act. Air
Transport Ass'n of America v. City and Coimiy of San Francisco, 992 F. Supp. 1149, 1188 (9th
Cir. 1998), ajj"d and remanded on other grounds, 266 F.3d 1064 (9th Cir. 2001). “A Senate

Report on the ADA states that the preemption provision ‘should not be construed to affect or

 

 

 

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limit existing proprietary rights of airport operators to manage, operate, or regulate airports.”’
Id. (quoting S.Rep. No. 631, 95th Cong., 2nd Sess. 39, 99 (1978)). The legislative history
similarly also refers to “normal proprietary functions such as the establishing of curfews and
landing fees which are consistent with other requirements in Federal law.” Id. (citing 123
Cong.Rec. 30, 595-96 (Sept. 23, 1977)),' see e.g. Air Transpart Ass'n of America. lnc. v. U.S.
Dept. of Transp., 613 F.3d 206, 216 (D.C. Cir. 2010) (holding that nothing in
the Airline Deregulation Act prohibits an airport from charging a reasonable landing fee;
conversely, the Airline Deregulation Act preemption specifically carved out an exception
allowing an airport authority to carry out its proprietary powers and rights.)

SMA has not cited to any-authority within the Airline Deregulation Act or any other
legal authority to support its assertion that the right to charge reasonable fees is not a proprietary
right Nothing in the Airline Deregulation prohibits CPA from imposing reasonable fees and
indeed legislative history indicates that normal proprietary functions include the establishment
of fees. CPA falls within the exception created by 49 U.S.C. § 41713(b)(3) because it is within
CPA’s proprietary powers and rights to charge reasonable fees. Accordingly, this Court does
not have jurisdiction under the federal preemption provision of the Airline Deregulation Act.

Further, the U.S. Supreme Court has said that an airline’s “self-imposed undertakings”
are not preempted by the Airline Deregulation Act. See Ameri'can Airlines v. Wolens, 513 U.S.
219 (1995). Here, the Airline Use Agreement is such a self-imposed undertaking-an
agreement entered into by SMA of its own accord. Thus, SMA cannot now argue that the fees
imposed by CPA pursuant to the Airline Use Agreement violate the Airline Deregulation Act.

The public policy is clear. Any contract under which an airline agrees to pay for something will

 

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affect that airline’s overall costs and, likely, the fares it must collect from its passengers or
shippers. That does not make that contract a violation of the Airline Deregulation Act.
III. CONCLUSION

SMA’s Second Amended Complaint must be dismissed SMA alleges CPA breached the
Airline Use Agreement by violating federal laws. The only federal laws SMA cites, however,
are the AAIA and the Anti Head Tax Act, and neither of these federal laws confer a private right
of action. Further, any alleged violation of the Rates and Charges Policy and thus grant
assurances is under the jurisdiction of the FAA. SMA alleges the Airline Deregulation Act
confers federal jurisdiction, but the very authority SMA cites contains an exception for an
airport’s proprietary powers. SMA has attempted to cloak its plain vanilla breach of contract
claim in new clothes relating to the Anti Head Tax Act, the Rates and Charges Policy, grant
assurances, and the Airline Deregulation Act. A closer look at each federal cloak reveals that
SMA’s claims of jurisdiction fail. This dispute over fees is already properly before the FAA,
which has primary jurisdiction over this issue, and this is where SMA’s claim should remain.

Respectfully submitted this 20"‘ day of August, 2018.

/S/ Robert T. Torres
Robert T. Torres
Attomey for Defendant Commonwealth Ports Authority

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CERTIFICALE oF sgkvlcit

I hereby certify that the following were served with the foregoing document and all
attachments thereto via the Court’s Case Management/Electronic Case Filing system
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